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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHER DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

 STACY ABRON, individually and on              )
 behalf of others similarly situated,          )
                                               )
                       Plaintiff,              )
                                               )
        v.                                     ) No. 3:22-cv-50238
                                               )
 VI-JON, LLC,                                  )
                       Defendant.              )
                                               )
                  NOTICE OF APPEARANCE OF MICHAEL F. HEALY


To: The Clerk of the Court and all counsel of record:

       I am admitted or otherwise authorized to practice in this Court, and I appear in this case

as counsel for defendant Vi-Jon, LLC.


Dated: December 22, 2022                            Respectfully submitted,

                                                    SHOOK, HARDY & BACON L.L.P.


                                                    By: /s/ Michael F. Healy

                                                    Michael F. Healy (appearing pro hac vice)
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